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    15-4192           To be Argued by: STEVEN D. CLYMER

     United States Court of Appeals
               FOR THE SECOND CIRCUIT
                 Docket No. 15-4192
         UNITED STATES OF AMERICA,
                    Appellee,
                    v.
   STEPHEN M. HOWELLS, II, NICOLE F. VAISEY,
                    Defendants-Appellants.
    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF NEW YORK

   BRIEF FOR APPELLEE UNITED STATES OF AMERICA

                       Richard S. Hartunian
                       United States Attorney for the
                        Northern District of New York
                       100 South Clinton Street
                       Syracuse, NY 13261-7198
                       Tele: 315-448-0672
                       Email: Steven.D.Clymer@usdoj.gov
   LISA M. FLETCHER
   STEVEN D. CLYMER
   Assistant United States Attorneys
      of Counsel
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     United States Court of Appeals
               FOR THE SECOND CIRCUIT
                 Docket No. 15-4192


            UNITED STATES OF AMERICA,
                       Appellee,
                             v.
    STEPHEN M. HOWELLS, II, NICOLE F. VAISEY,
                     Defendants-Appellants.

     BRIEF FOR THE UNITED STATES OF AMERICA


        STATEMENT OF THE ISSUES PRESENTED

        1. Whether the district court committed error,
    plain or otherwise, when, to implement a sentence of
    life imprisonment and comply with the guidelines’
    mandate that terms of imprisonment on multiple
    counts of conviction be consecutive if necessary to
    achieve the total punishment, it imposed the
    maximum term of imprisonment for each of the
    defendant’s multiple counts of conviction and made
    those terms consecutive, resulting in a 6,960-month
    term of imprisonment.

       2. Whether the defendant’s within-guidelines
    6,960-month term of imprisonment is substantively
    unreasonable or unconstitutionally cruel and unusual
    punishment when the defendant (a) conspired to and
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    did forcibly kidnap, drug, and hold captive in chains
    and handcuffs two sisters, ages six and eleven,
    enabling the defendant to repeatedly sexually exploit
    them and produce pornographic images of some of
    that abuse; (b) gained access to four other females,
    ages five to ten, by abusing their parents’ trust,
    thereby enabling the defendant, sometimes acting
    with his co-conspirator, to drug and sexually exploit
    them over a course of several months and produce
    pornographic images of that abuse; and (c) possessed
    a massive collection of child pornography that
    included depictions of torture and bestiality involving
    prepubescent females.

                STATEMENT OF THE CASE

    A. Introduction

        Defendant-appellant Stephen M. Howells, II,
    appeals from the sentence imposed by the United
    States District Court for the Northern District of New
    York (Suddaby, C.J.) following his conviction by
    guilty plea for conspiracy to sexually exploit children
    for the purpose of producing child pornography,
    fifteen counts of sexual exploitation for the purpose
    of producing child pornography, and five counts of
    possession of child pornography. Howells contends
    that the district court committed procedural
    sentencing error by imposing the maximum sentence
    on each of his counts of conviction and running those
    terms of imprisonment consecutively to achieve the
    guidelines sentence of life imprisonment. He also
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    argues that the resulting 6,960-month term of
    imprisonment is substantively unreasonable and
    unconstitutionally cruel and unusual.

    B. Procedural History

        On October 8, 2014, a federal grand jury in the
    Northern District of New York returned a
    superseding indictment charging Howells and
    codefendant Nicole Vaisey with conspiracy to
    sexually exploit children for the purpose of producing
    child pornography, in violation of 18 U.S.C.
    § 2251(a) and (e) [Count One]; and nine substantive
    counts of sexual exploitation for the purpose of
    producing child pornography, in violation of 18
    U.S.C. § 2251(a) [Counts Two though Ten]. The
    superseding indictment also charged Howells alone
    with six additional counts of sexual exploitation for
    the purpose of producing child pornography, in
    violation of 18 U.S.C. § 2251(a) [Counts Eleven
    though Sixteen]; and five counts of possession of
    child pornography, with each violation involving
    prepubescent minors and minors who had not
    attained 12 years of age, in violation of 18 U.S.C.
    §§ 2252A(a)(5)(B) and (b)(2) and 2256(8)(A)
    [Counts Seventeen through Twenty-One]. A. 27-29;
    Dkt. #21. 1


       1
          References to pages of the appendix that
    Howells filed are preceded by “A.” References to
    entries in the district court’s docket report in NDNY
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       On May 8, 2015, Howells pled guilty to all counts
    in the indictment without a plea agreement. A. 54-
    99. On December 17, 2015, the district court
    sentenced Howells principally to a 360-month term
    of imprisonment per count on Counts One through
    Sixteen and a 240-month term of imprisonment on
    each of Counts Seventeen through Twenty-One, all to
    be served consecutively, for a total term of 6,960-
    months, A. 194, to be followed by a life term of
    supervised release. A. 198-99. Judgment was
    entered on December 22, 2015. A. 203-09; Dkt. #67.
    Howells filed a timely notice of appeal on December
    29, 2015. A. 210; Dkt. #71.

       Howells is serving his term of imprisonment.




    Case No. 5:14-CR-340-GTS are preceded by “Dkt.”
    The docket report appears at A. 1-20.
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                 STATEMENT OF FACTS 2

    A. Offense Conduct

           1. The Kidnapping and Sexual Abuse of
              Victim #1, Age Eleven, and Victim #2,
              Age Six

       On August 13, 2014, Howells and Vaisey forcibly
    kidnapped two girls, ages 11 (“V-1”) and 6 (“V-2”),
    from an Amish farm stand in front of their residence
    in Huevelton, New York in St. Lawrence County.
    PSR ¶ 30. Howells and Vaisey had a
    dominant/submissive sexual relationship in which he
    played the role of the “master” and she the “slave.”
    PSR ¶¶ 53-54. They had been planning to kidnap
    children for several months as a means to acquire sex
    slaves for Howells. PSR ¶¶ 37, 59. In text messages
    they discussed having seen possible abduction
    victims (“pixies/princesses”); Vaisey having to “drive
    [Howells] around all day so you can look for
    someone to bring home that you want more than me”;
    “shopping” for children; and soundproofing the
    house that they shared. PSR ¶ 59. Howells selected
    V-1 and V-2 as intended victims when he saw them


       2
         The facts set out in the text are based on the
    presentence investigation report (“PSR”), which has
    been filed with this Court. Howells did not object to
    the account of his conduct in the PSR. PSR at p. 60;
    (noting no objections to the report); A. 183.
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    at the farm stand a week before the abduction. PSR
    ¶ 37.

        On the day of the kidnapping, Howells and Vaisey
    approached the farm stand at about 7:00 p.m. in
    Howells’ four-door white vehicle with Vaisey
    driving. PSR ¶¶ 30, 37. They had a dog in the car
    that they used to lure the girls. PSR ¶ 30. Howells
    forced both victims into the back seat of the vehicle,
    put them on the floor to prevent them from seeing out
    of the windows, and made efforts to silence them as
    they attempted to scream. PSR ¶ 31. Howell, who
    had been a registered nurse since 2004, PSR ¶¶ 303,
    305, used a syringe to inject the older of the victims,
    V-1, with a drug known as “Versed” or
    “Midazolam.” PSR ¶¶ 31, 37 & n.1. Versed causes
    drowsiness and forgetfulness. PSR ¶ 37 n.1. As
    explained below, Howells had experience
    administering controlled substances and other drugs
    to children in order to facilitate sexual abuse.

       When the vehicle reached Howells’ residence, the
    victims were hurried inside so they would not be
    seen. PSR ¶ 31. Howells gave them a bath together,
    shaved V-1’s pubic hair, told them to brush their
    teeth, and provided them with different clothes, a
    black negligee for V-1 and a night shirt for V-2. PSR
    ¶¶ 31, 38. He put them into a bed, handcuffed their
    legs together, chained them to the bed, and undressed
    them. PSR ¶ 32. Howells and Vaisey got into the
    bed and had sex with each other. PSR ¶ 32.
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          2. The Efforts to Destroy and Conceal
             Evidence, Questioning of Howells and
             Vaisey, and the Execution of a
             Federal Search Warrant

       Howells and Vaisey used water, Comet soap, and
    Clorox bleach to clean items associated with the
    abduction and sexual abuse of V-1 and V-2,
    including the chains and handcuffs. They threw the
    toothbrushes in the garbage and washed bathrobes,
    clothes, and towels they had used. They burned an
    apron that one of the victims had left behind. PSR
    ¶ 40. They also hid the handcuffs and chains in a
    duffle bag and hid the videos they had produced on
    an encrypted computer hard drive. PSR ¶ 40, 44.
    They moved furniture and other items that they
    thought the victims could describe. PSR ¶ 40.

       After they were released, the victims sought
    assistance from the occupant of a nearby house. The
    occupant took them home. They were interviewed by
    law enforcement officials and taken to the hospital.
    PSR ¶ 34.

       Based on V-1’s description of the house and
    vehicles used in the kidnapping, law enforcement
    officials located Howells’ residence, which matched
    V-1’s description. Howells and Vaisey met them
    outside the house, signed a consent-to-search form,
    and permitted them to enter the house. Once inside,
    the law enforcement officials took photographs,
    which V-1 later identified. PSR ¶¶ 35-36.
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       Federal agents obtained a warrant to search the
    residence, vehicles, and related property. While
    agents were obtaining the warrant, Howells and
    Vaisey were questioned by law enforcement officials
    and made statements admitting kidnapping, drugging,
    and sexually abusing V-1 and V-2, and producing
    images of the sexual exploitation. PSR ¶¶ 37-40.

       Among the items seized during execution of the
    federal search warrant at the residence was digital
    storage media, including five encrypted internal hard
    drives on Howells’ homemade computer. PSR ¶ 45.
    Law enforcement officials were able to decrypt the
    hard drives and view their contents when a special
    agent of the Federal Bureau of Investigation [“FBI”]
    located the encryption key in a text message that
    Howells had sent to Vaisey. PSR ¶ 6(n). Among the
    evidence found on the hard drives were images and
    videos of V-1 and V-2 in bed with Howells and
    Vaisey, with both victims bound by chains and
    Howells sexually abusing V-1. PSR ¶ 45.

          3. The Other Children Whom Howells
             and Vaisey Sexually Exploited

        Based on the forensic evidence located on
    Howells’ encrypted computer hard drives and
    statements that Howells and Vaisey made to law
    enforcement, law enforcement officials were able to
    determine that Howells, on multiple occasions,
    sometimes alone and sometimes with Vaisey’s
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    involvement, sexually abused four other young girls
    whom he had drugged, and produced video images of
    the exploitation.

             a. Victim #4, Age Eight

        On December 16, 2012, Howells, acting alone,
    sexually abused V-4,
                    . Howells, who believed that V-4 was
    seven years old, told authorities that he injected her
    with Benadryl. 3 PSR ¶ 42. There was evidence that
    this victim also had been exposed to oxycodone
    (trade name Oxycontin), a schedule II painkiller, and
    Ambien. PSR ¶ 6(a).

       Investigators located twelve images and twelve
    videos of Howells’ sexual abuse of V-4 on one of the
    encrypted hard drives. Four of the videos depict the
    abuse on December 16, 2012, from different angles.
    They show Howells “expose [V-4’s] vagina to the
    camera, fondle her vagina, administer an injection
    into V-4’s buttocks, masturbate while watching V-4
    on the bed, and masturbate and rub his penis on V-4’s
    foot.” PSR ¶ 18. Howells told investigators that he
    had to terminate his abuse of V-4 because she “really
    wasn’t out enough” despite the drug injection. PSR
    ¶ 42.
       3
            Benadryl is the brand name for
    diphenhydramine, a prescription antihistamine that
    has, as one of its side effects, drowsiness. See
    https://www.drugs.com/benadryl.html.
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             b. Victim #3, Age Seven

       Victim #3,                       , was the child
    whom Howells sexually abused and videotaped most
    frequently. In September 2013, Howells and Vaisey
    began to discuss through text messages a plan to
    sexually abuse children, including V-3. The plan
    included inviting V-3 to sleep at their house and
    giving V-3 a “special drink” to help her sleep. PSR
    ¶ 56.

        The initial abuse of V-3 occurred on September 7,
    2013. The abuse continued well into 2014 as Vaisey
    used her relationship with V-3 to have her frequently
    stay overnight at the house with Howells and Vaisey.
    PSR ¶¶ 6(b), 56. Law enforcement located video
    files on Howells’ encrypted hard drives showing
    sexual abuse of V-3 on the following days:

    • September 7, 2013: the sexual abuse, which
      Vaisey filmed, included Howells vaginally raping
      V-3, putting his mouth on her vagina, and
      fondling her vagina. PSR ¶ 8.

    • September 22, 2013: the abuse, which involved V-
      3, V-5, and V-6, included Howells inserting an
      object into V-3’s vagina or anus until she woke
      up. PSR ¶ 19.
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    • October 20, 2013: the sexual abuse, which Vaisey
      filmed, included Howells vaginally raping V-3,
      putting his mouth on her vagina, and rubbing his
      penis on her vagina and anus. PSR ¶ 9.

    • November 16, 2013: the sexual abuse, which
      Vaisey filmed, included Howells vaginally raping
      V-3 and digitally penetrating her vagina. PSR
      ¶ 10.

    • December 29, 2013: the sexual abuse, portions of
      which both Howells and Vaisey filmed, included
      Vaisey performing oral sex on V-3 and using a
      vibrator on her vagina; Howells and Vaisey both
      digitally penetrating V-3’s vagina, and Howells
      vaginally raping V-3 and ejaculating. PSR ¶ 13.

    • January 24, 2014: the sexual abuse included
      Howells vaginally raping V-3 and ejaculating
      inside her vagina. PSR ¶ 22.

    • April 18, 2014: the sexual abuse, which Vaisey
      filmed, included Howells vaginally raping V-3.
      PSR ¶ 14.

    • April 19, 2014: the sexual abuse included Howells
      removing V-3’s pajamas and dressing her in a
      black negligee, fishnet panties, a garter, fishnet
      stockings, and a black studded collar. Howells
      put his mouth on V-3’s vagina and had her use a
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       vibrator on her vagina, and manually stimulate
       and then lick his penis. PSR ¶ 23.

    • May 31, 2014: the sexual abuse, which Vaisey
      filmed and in which she participated, included
      Howells vaginally raping V-3. During the abuse,
      Vaisey repeatedly commanded V-3 to kiss
      Howells’ penis. PSR ¶ 19.

        In February 2014, Howells and Vaisey had a
    conversation by text message about Howells having
    contracted a venereal disease and the need to treat V-
    3, who may have caught it from Howells. PSR ¶ 57.
    They also discussed the need to have Howells refrain
    from “playing” with V-3 in the meantime, which
    Howells stated would be “a challenge.” Five days
    later, Vaisey told Howells that she no longer wanted
    V-3 as a “playmate” because “she brings a lot of
    drama with her and she’s not mentally prepared for
    the situation.” PSR ¶ 57. Nonetheless, the abuse
    continued. In advance of the sexual abuse on April
    18 and 19, 2014, described above, Howells, by text
    message, commanded Vaisey, who already had given
    V-3 “two of each” kind of sleeping pill, to give her
    two to three more of the “10mg” to put her to sleep.
    PSR ¶ 58.

       Investigators located 111 images and 62 videos of
    the sexual abuse of V-3. PSR ¶ 45. There was
    evidence that Howells drugged this child with
    oxycodone, oxymorphone (trade name Opana),
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    29 videos on the hard drives were child pornography
    of infants or toddlers. PSR ¶ 45. The images
    included one of a prepubescent female, later
    determined to be seven years old, on her knees and
    handcuffed with an adult male’s penis in her mouth,
    PSR ¶ 25; and an image showing a minor female,
    approximately nine years old, engaged in mouth-to-
    genital contact with a dog, PSR ¶ 26. One of the hard
    drives contained a video of the sexual torture of an
    infant female.     PSR ¶ 29.       Investigators also
    identified over 250 files of child pornography
    produced by digital devices (an IPhone and a Canon
    digital camera) that Howells owned. PSR ¶ 45.

       The hard drives also contained erotic stories of
    rape and abuse that Howells wrote and lists of
    websites related to the exploitation of children. PSR
    ¶ 45. The internet history of Howells’ computer
    revealed search engine queries about the
    administration and effect of various drugs, including
    signs of overdose, and stun guns and tasers. There
    also were word searches on www.thepiratebay.sx for
    “bondage”; “molesting”; “assault”; “rape”; “ripping”;
    “rough sex”; “sleep assault”; “the maiden rape
    assault”; and “tween.” PSR ¶ 46.
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    B. Sentencing Guidelines Calculations 4

        For Counts One through Sixteen in the
    superseding indictment, each charging either sexual
    exploitation for the purpose of producing child
    pornography or conspiracy to do so, the Probation
    Office, relying on U.S.S.G. § 2G2.1(d)(1) and
    U.S.S.G. § 2G2.1 cmt. n.5, created a separate
    “group” for each victim named in each count, for a
    total of 22 groups. PSR ¶¶ 67-69. It then calculated
    an adjusted offense level for each group by
    determining the base offense level and adding levels
    for applicable specific offense characteristics and
    adjustments. PSR ¶¶ 71-258. The Probation Office
    then created a single group for the remaining counts
    in the superseding indictment – each charging
    possession of child pornography and pertaining to
    one of the five internal hard drives on Howells’
    computer – and determined an adjusted offense level
    for that group. PSR ¶ 259-268.

       Applying the multiple count grouping rules in
    U.S.S.G. § 3D1.4, the Probation Office calculated a
    combined adjusted offense level of 53. PSR ¶ 269-
    272. This level was reduced by three levels for
    Howells’ prompt acceptance of responsibility and a
    government motion. PSR ¶¶ 273-275. It was,
    however, increased five levels under U.S.S.G.
       4
         The 2015 United States Sentencing Guidelines
    Manual was used to determine Howells’ guidelines
    sentencing range. PSR ¶ 66.
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    § 4B1.5(b) because Howells qualified as a “repeat
    and dangerous sex offender against minors.” PSR
    ¶ 276. This resulted in an offense level of 55. PSR
    ¶ 277. Under the guidelines, this offense level was
    treated as a total offense level of 43, which is the
    highest offense level on the sentencing table. PSR
    ¶ 278.

       The PSR noted that Howells had pled guilty in St.
    Lawrence County court to two counts of kidnapping
    in connection with the abduction of V-1 and V-2 and
    was awaiting sentencing. PSR ¶ 280. 5 Because he
    had no other criminal convictions, his criminal
    history category was I. PSR ¶ 281.

       The PSR explained that, for Counts One through
    Sixteen, the statutory minimum sentence per count
    was fifteen years and the statutory maximum
    sentence was thirty years. For Counts Seventeen
    though Twenty-One, the statutory maximum sentence
    per count was twenty years. PSR ¶ 312. The PSR
    also explained that the sentencing guidelines provide
    for a life term of imprisonment for an offender with

       5
          The PSR states that Howells was convicted by
    guilty plea of two counts of first degree kidnapping.
    In fact, as reflected by the redacted information and
    certificate of conviction included in an addendum to
    this brief, Howells was convicted of two counts of
    second degree kidnapping, in violation of NYS Penal
    Law § 135.20.
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    an offense level of 43 and a criminal history category
    of I. PSR ¶ 313.

       Because no count of conviction permitted
    imposition of a life term of imprisonment, the PSR,
    relying on U.S.S.G. § 5G1.2, determined that the
    guidelines range was 6,960 months or 580 years.
    PSR ¶ 313-314. This is the term that results from
    imposing the statutory maximum sentence on each
    count of conviction and making those sentences run
    consecutively to each other.

    C. Sentencing

        Howells did not object to either the guidelines
    calculations in the PSR or the recommended 6,960-
    month term of imprisonment. PSR at p. 60.
    Similarly,     although      Howells’     sentencing
    memorandum requested a downward variance to a
    thirty-year sentence, it did not contest that the
    guidelines recommended life imprisonment or
    dispute that, under the circumstances present in this
    case, U.S.S.G. § 5G1.2 mandated that the district
    court achieve that outcome by imposing the
    maximum statutory term of imprisonment on each
    count of conviction and running those terms
    consecutive to each other. A. 101-14.

       At the sentencing hearing, defense counsel told
    the district court that she had no objections to the
    offense level and criminal history calculations in the
    PSR. A. 183. The defense again requested a
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    variance to a thirty-year sentence but did not contend
    that the PSR’s recommended term of imprisonment
    was erroneous. A. 188-92.

       After hearing from defense counsel and Howells,
    the district court explained that it had “reviewed and
    considered all the pertinent information, including,
    but not limited to, the Presentence Investigation
    Report, the addendum, submissions by counsel, and
    the Sentencing Guideline Manual, as well as the
    factors outlined in 18 U.S.C. Section 3553(a),”
    A. 193, and imposed a 6,960-month term of
    imprisonment:

       The Court adopts the factual information and
       the guideline applications contained in the
       Presentence Investigation Report. The Court
       finds the total offense level is 43, the criminal
       history category is I, and the guideline
       imprisonment range is life. However, since no
       count of conviction carries a potential life
       sentence, the guideline sentence becomes 580
       years, or 6,960 months, pursuant to U.S.S.G.
       Section 5G1.2(b). As this is a combined length
       of the authorized maximum of sentences for
       Counts 1 through 21. As further instructed at
       5G1.2(d), the sentence imposed on each count
       of conviction shall run consecutively to the
       extent necessary to produce a combined
       sentence equal to the total punishment, which
       again in this case is 580 years.
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       Upon your plea of guilty to Counts 1 through
       21 of the superseding indictment, it is the
       judgment of this Court that you are hereby
       committed to the custody of the Bureau of
       Prisons to be imprisoned for a term of 6,960
       months, or 580 years. This term consists of 360
       months on Counts 1 through 16, and twenty
       years on counts 17 through 21, all to be served
       consecutively.

    A. 193-94.

       The district court explained its rationale for
    refusing to depart or vary downward from the
    guidelines as Howells had requested:

       After reviewing all the facts in this case and
       considering the submissions by counsel,
       including your psychosexual evaluation and
       your background, I find no reason to depart or
       vary from the applicable guideline sentence
       given this Court’s responsibility to impose a
       sentence that is sufficient, but not greater than
       necessary, to comply with the purpose of
       sentencing set forth in 18 U.S.C. Section
       3553(a).

       In fact, I find a guideline sentence is absolutely
       necessary to reflect the seriousness of your
       numerous crimes against children, to provide
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       just punishment for the extent of these crimes
       against children, and to deter others from
       engaging in the same incomprehensible
       conduct, that being the sexual exploitation,
       drugging, kidnapping, restraining and raping of
       children. There are few crimes more egregious
       than these, and I find the sentence imposed
       today is sufficient, but not greater than
       necessary, to achieve the goals of sentencing
       after considering the multitude of aggravating
       factors, including, but not limited to, the
       number of children you harmed by satisfying
       your deviant sadistic sexual desires and the
       personality traits that enabled you to carry out
       your violent fantasies with no apparent guilt or
       remorse.

       Indeed, as you indicated, you saw them as
       objects and nothing more but to be there for
       your own pleasure, the recording of such
       perverse abuse on numerous occasions over an
       extended period of time, and the extent of these
       recordings, which often involved multiple
       devices set up to capture the abuse from
       multiple angles, your position as a registered
       nurse and the use of this position to drug your
       child victims, some over and over again. As
       the records reflect, Victim 3 was found to have
       ten different drugs in her system.
       Notwithstanding your knowledge as a
       registered nurse, you were aware of the
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       dangers of drugging the children given the
       internet searches found on your computer and
       on the computer of your co-defendant, such as
       researching overdoses, will I die if I take
       Ambien and Benadryl together. Moreover, you
       are captured on the video administering
       additional drugs to already sedated children
       and shining a light into their [sic] eyes of these
       incapacitated children to evaluate the degree of
       their unconsciousness. And again, that
       demonstrates that you are fully aware of the
       dangerous consequences of you drugging these
       children, including the possibility of overdose
       and death.

       When the victims known to you could no
       longer satisfy your deviant desires, you and
       your co-defendant spent months planning to
       kidnap children to be used as sex slaves. This
       plan included hours upon hours of driving
       around looking for children and building a
       soundproof room in order to imprison them,
       children, for an indefinite period of time. You
       and your co-defendant ultimately followed
       through with this reprehensible plan by
       kidnapping two Amish children. The Amish
       people, a symbol of simple and pure life, a life,
       two lives and many more affected that you
       destroyed. They are among the most vulnerable
       children in our society. The immense fear and
       harm you caused to the two victims is
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       unfathomable. And what you subjected them to
       is unspeakable. There is absolutely no evidence
       in the record that supports your current
       contention that you released these victims
       knowing you were going to be captured. To
       even suggest their release was out of guilt or
       remorse is incredible.

       The record before this Court, including your
       own       post-arrest     statements,    clearly
       demonstrates that the only reason you released
       these children was the realization that your
       room, your cell which was meant to imprison
       them was not soundproof. It was only after
       this realization that you and your co-defendant
       discussed your options and took steps to cover
       your tracks by scouting out a remote location
       ensuring the absence of law enforcement and
       getting rid of the evidence of your crimes after
       releasing the children in a wooded area. I put
       no merit in your attorney’s argument that you
       released them in an area where you thought
       they would be discovered.

       I’ve also considered the approximately 15
       years you spent victimizing hundreds of other
       children by amassing an enormous collection
       of internet child pornography, including
       bondage, sadistic abuse and torture of very
       young children. Your collection consisted of
       tens of thousands of files depicting sexual
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       abuse of children, more than 180,000 sexually
       explicit files involving children whose ages are
       not readily apparent, and over 1 million files of
       child and teen erotica. Of these additional
       victims 389 children have been identified by
       law enforcement officials worldwide. All of
       these children, including those who haven’t yet
       -- have yet to be identified, are victims of your
       offense.

       Finally, this Court has considered the
       significant impact of your crimes on the
       community, including the immense fear and
       alarm caused by child abductions. You are,
       quite frankly, the threat parents worry about
       every day who have young children. You are
       the predator. You are the nightmares that never
       go away for young children. And most
       importantly, the unmeasurable harm and
       trauma that you have caused to each of your
       child victims and to their families. The
       lifelong devastation caused by your actions to
       so many is deserving of the sentence imposed
       today.

       For all of these reasons, I find a guideline
       sentence is warranted, justified and reasonable
       because you are extremely dangerous and a
       violent sex offender. Only a life sentence can
       ensure the safety of the community, provide
       just punishment for the profound crimes
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       against children and afford adequate
       deterrence. I cannot in good conscience impose
       a sentence that will ever allow you to have
       access to children again.

    A. 194-98. 6

        In the event that Howells was ever released, the
    district court also imposed a life term of supervised
    release. A. 198-99.

        When asked by the district court if there was
    anything further, defense counsel voiced no objection
    to the length of the sentence, the district court’s
    articulated rationale, or any other aspect of the
    sentence. A. 201.

                   SUMMARY OF ARGUMENT

        Because Howells had opportunities to object to
    the district court’s stacking of the statutory maximum
    terms of imprisonment on each count of conviction to
    achieve       the     guidelines-recommended       total
    punishment of life imprisonment and did not do so,
    his appellate challenge to this aspect of the sentence
    is subject to plain error review. Under any standard
    of appellate review, there was no procedural
       6
         The district court reiterated its rationale for
    imposing a within-guidelines sentence in the written
    statement of reasons, which has been filed with this
    Court.
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    sentencing error. The district court employed the
    method that the guidelines mandate for achieving a
    total punishment of life imprisonment when, in a case
    in which there are multiple counts of conviction, no
    single count permits a life sentence. The alternative
    approach that Howells proposes finds no support in
    the law or common sense.

        Under the circumstances present here, the within-
    guidelines 6,960-month term of imprisonment is
    reasonable and neither cruel nor unusual. Howells’
    conduct amply demonstrated that he is a dangerous,
    sadistic, amoral, and predatory pedophile. It was
    eminently reasonable and constitutional for the
    district court to exercise its considerable sentencing
    discretion to fully punish Howells for his horrific
    criminal conduct, deter like-minded pedophiles, and
    ensure that Howells will spend the remainder of his
    life in prison where he will not have access to
    children.
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                        ARGUMENT

    POINT I:    The District Court Did Not Commit
                Error, Plain or Otherwise, By
                Implementing      Howells’    “Total
                Punishment”        by      Imposing
                Consecutive Statutory Maximum
                Terms of Imprisonment on Each
                Count of Conviction.

        Howells argues that the district court committed
    procedural sentencing error by improperly
    determining that his “total punishment” was 580
    years in prison when, according to Howells, the
    guidelines required an imprisonment term of 39.2 to
    44.3 years. Howells’ Opening Brief at 16-20.
    Howells further contends that because he objected to
    this alleged error in his sentencing memorandum and
    was not given an opportunity to raise it again at
    sentencing, his claim should be reviewed under the
    abuse of discretion standard, not for plain error. Id.
    at 16.

       All of these contentions lack merit. Howells had
    multiple opportunities to raise this procedural claim
    below and never did so. In any event, his claim fails
    under any standard of review.

    A. Background

       As noted above, see supra at pp. 18-19, the
    advisory guidelines provided for a sentence of life
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    imprisonment.     Howells does not dispute this.
    Howells’ Opening Brief at 17 (“the ‘total
    punishment’ . . . was life”). But, none of the counts
    of conviction permitted imposition of a life term of
    imprisonment. Each of Counts One through Sixteen,
    charging violations of 18 U.S.C. § 2251(a), required
    an imprisonment term between fifteen and thirty
    years. Id. at § 2251(e). Each of Counts Seventeen
    through Twenty-One, charging violations of 18
    U.S.C. § 2252A(a)(5)(B) and (b)(2), required an
    imprisonment term of no more than twenty years.

    B. Governing Law

       Section 5G1.2(d) of the United States Sentencing
    Guidelines governs imposition of sentence in cases
    involving multiple counts of conviction when no
    single count provides for a term of imprisonment as
    long as the guidelines recommend. It provides that:

       If the sentence imposed on the count carrying
       the highest statutory maximum is less than the
       total punishment, then the sentence imposed on
       one or more of the other counts shall run
       consecutively, but only to the extent necessary
       to produce a combined sentence equal to the
       total punishment. In all other respects,
       sentences on all counts shall run concurrently,
       except to the extent otherwise required by law.

        The Commentary to this guideline provision
    reiterates the point: “If no count carries an adequate
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    statutory maximum, consecutive sentences are to be
    imposed to the extent necessary to achieve the total
    punishment.” U.S.S.G. § 5G1.2 cmt. n.1; see also
    United States v. McLean, 287 F.3d 127, 136 (2d Cir.
    2002) (“In other words, ‘[i]n the case of multiple
    counts of conviction, [section 5G1.2(d) of] the
    sentencing guidelines instruct[s] that if the total
    punishment mandated by the guidelines exceeds the
    statutory maximum of the most serious offense of
    conviction, the district court must impose consecutive
    terms of imprisonment to the extent necessary to
    achieve the total punishment.’” (quoting United
    States v. Angle, 254 F.3d 514, 518 (4th Cir. 2001) (en
    banc) (emphasis added)) (brackets in McLean).

       The commentary further provides that “the
    combined length of the sentences (‘total
    punishment’) is determined by the court after
    determining the adjusted combined offense level and
    the Criminal History Category and determining the
    defendant’s guideline range on the Sentencing Table
    in Chapter Five, Part A (Sentencing Table).” Id.
    Thus, “[t]otal punishment” means “the punishment
    determined after all relevant Guidelines’ calculations
    have been made.” United States v. McLeod, 251 F.3d
    78, 82 (2d Cir. 2001).

       In United States v. Rahman, 189 F.3d 88 (2d Cir.
    1999), this Court described the process a district
    court should employ to implement section 5G1.2:
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       the Guidelines prescribe a precise regime for
       the decision as to consecutiveness of terms
       imposed on multiple counts.          Unless the
       offense statute requires consecutiveness, see
       U.S.S.G. § 5G1.2(a), the sentencing judge first
       calculates the total punishment called for by
       the Guidelines. See id. § 5G1.2(b). Next, the
       sentencing judge notices whether that total
       punishment called for by the Guidelines is
       within or above the statutory maximum for the
       count carrying the highest maximum. See id.
       § 5G1.2(c). . . . If the total punishment called
       for by the Guidelines exceeds the statutory
       maximum for the count carrying the highest
       maximum, the judge imposes consecutive
       sentences, but only to the extent necessary to
       make the combined sentences on all counts
       equal to the targeted total punishment.

    Id. at 155; see also United States v. Craig, 703 F.3d
    1001, 1002 (7th Cir. 2012) (“Indeed, the guidelines
    tell the judge to sentence consecutively when
    necessary to bring the total sentence into the
    guidelines range, even though the sentence would
    exceed the statutory maximum sentence for any count
    of which the defendant was convicted, U.S.S.G.
    § 5G1.2(d), though as the guidelines are no longer
    mandatory the judge doesn’t have to sentence
    consecutively in that circumstance.”).
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        Rahman also explained that in a case in which the
    “total punishment” is life imprisonment and no count
    of conviction permits a life sentence, a district court
    faithfully applies U.S.S.G. § 5G1.2 by imposing the
    statutory maximum term of imprisonment on each
    count of conviction and running those terms
    consecutive to each other.

       In our case, Judge Mukasey faithfully applied
       section 5G1.2. For example, as to defendant
       El–Gabrowny, Judge Mukasey first determined
       that the total punishment called for by the
       Guidelines was life imprisonment. Since the
       count with the highest statutory maximum
       (Count One) carried a maximum of 20 years,
       he imposed sentences of 20 years on Count
       One, maximum sentences of 3 years on each of
       Counts Twenty to Twenty–Three (total, 12
       years), and 5 years on each of Counts Twenty–
       Four to Twenty–Eight (total, 25 years). He
       then ran all sentences consecutively to
       approach the targeted total punishment of life,
       resulting in a sentence of 57 years.

    189 F.3d at 155-56;7 see also United States v.
    Elgabrowny, 10 F. App’x 23, 25 (2d Cir. 2001)

       7
        Rahman, which was decided before the Supreme
    Court interpreted the guidelines to be advisory, also
    held that a district court, employing its discretion to
    depart from the guidelines, could impose concurrent
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    (“Having determined that the treason guideline
    applied (carrying a base offense level of 43), the
    court properly applied U.S.S.G. § 5G1.2(d) and the
    grouping rules to determine that the aggregate ‘total
    punishment’ for all counts resulting in conviction was
    life imprisonment. The jury’s guilty verdicts on each
    of the ten separate offenses authorized the court to
    sentence Elgabrowny to a term of imprisonment of
    up to 57 years – 20 years for the seditious conspiracy
    conviction plus 37 years for the additional
    offenses.”); Rivera v. United States, No. 3:10–CV–
    1970, 2012 WL 3043110 at *5 (D. Conn. July 25,
    2012) (“In light of the Guideline range of life
    imprisonment, the Guideline sentence would have
    been 70 years with every count running consecutively
    pursuant to section 5G1.2(d).”).

    C. Standard of Review

        This Court has explained that “[w]ith respect to
    Guidelines calculations generally . . . ‘[w]e review
    issues of law de novo, issues of fact under the clearly
    erroneous standard, mixed questions of law and fact
    either de novo or under the clearly erroneous standard
    depending on whether the question is predominantly
    legal or factual, and exercises of discretion for abuse
    of discretion.’” United States v. Labbe, 588 F.3d
    139, 145 n.2 (2d Cir. 2009) (quoting United States v.


    sentences despite U.S.S.G. § 5G1.2(d). Id. at 156-57.
    This aspect of Rahman has no application here.
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    Selioutsky, 409 F.3d 114, 119 (2d Cir. 2005) (internal
    citations omitted)).

       But, where a defendant has failed to raise in the
    district court a challenge he makes on appeal to the
    lower court’s computation of his guidelines’
    sentence, appellate review is for plain error only.
    McLean, 287 F.3d at 135.

       Under the plain error standard, an appellate court
    may, in its discretion, correct an error not raised
    below, but only when the defendant has shown that:
    (1) there is an “error”; (2) the error is “clear or
    obvious, rather than subject to reasonable dispute”;
    (3) the error “affected the [defendant’s] substantial
    rights, which in the ordinary case means” it “affected
    the outcome of the district court proceedings”; and
    (4) “the error seriously affect[s] the fairness, integrity
    or public reputation of judicial proceedings.” United
    States v. Marcus, 560 U.S. 258, 262 (2010) (quoting
    Puckett v. United States, 556 U.S. 129, 135 (2009)).
    The defendant bears the burden of showing plain
    error. See United States v. Dominguez Benitez, 542
    U.S. 74, 82 (2004); United States v. Turner, 720 F.3d
    411, 427 (2d Cir. 2013).

       This Court “keep[s] in mind the Supreme Court’s
    guidance that reversal for plain error should ‘be used
    sparingly, solely in those circumstances in which a
    miscarriage of justice would otherwise result.’”
    United States v. Villafuerte, 502 F.3d 204, 209 (2d
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    Cir. 2007) (quoting United States v. Frady, 456 U.S.
    152, 163 n.14 (1982)).

    D. Discussion

          1. Despite Howells’ assertions to the
             contrary, he failed to raise his claim
             of procedural error below despite
             opportunities to do so.

       Howells asserts that “the defense objected to [the
    calculation of his guidelines sentence] in its
    sentencing memorandum and was given no
    opportunity to object to the overall Guidelines
    calculation at the sentencing hearing.” Howells’
    Opening Brief at 16 (citation omitted). These
    assertions are not true. Howells had ample notice in
    the district court that he faced a guidelines-
    recommended 6,960-month term of imprisonment
    and multiple opportunities to raise his present
    objection. He never did so.

       At the change of plea hearing, the district court
    asked government counsel to describe the “projected
    Sentencing Guideline range.” A. 93. The Assistant
    United States Attorney explained “that the defendant
    will score at resolved level 43 which calls for a life
    imprisonment sentence; however, because each count
    of conviction has a statutory maximum that is less
    than life, that sentence resolves back to the maximum
    amount possible in this case which would be 580
    years.” A. 94.
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       The PSR also explained that U.S.S.G. § 5G1.2
    mandated a 6,960-month (580-year) term of
    imprisonment. PSR ¶¶ 313-14. A draft PSR was
    disclosed to the parties on September 11, 2015.
    Howells voiced no objections to the guidelines
    calculations in the PSR. PSR at p. 60.

        On November 24, 2015, Howells filed his
    sentencing memorandum. A. 101-14; Dkt. #55. That
    memorandum         referred     to     previously-made
    “objections to the factual contents contained in the
    PSR with probation,” A. 102, but did not assert any
    claim that application of U.S.S.G. § 5G1.2 should
    result in a term of imprisonment different than that
    which the PSR recommended. The page of the
    sentencing memorandum that Howells cites in his
    appellate brief as the locus of the supposed objection
    preserving his sentencing claim for appeal – A. 105,
    see Howells’ Opening Brief at 16 – argues for a 30-
    year term of imprisonment because “[s]tacking the
    sentences consecutively would be greater than
    necessary based on the . . . federal interest [remaining
    after Howells’ anticipated twenty-five year sentence
    in state court for state offenses].” It does not,
    however, articulate any challenge to the
    determination under U.S.S.G. § 5G1.2 that Howells’
    guidelines’ term of imprisonment was 6,960 months.

       At the sentencing hearing, the district court first
    asked if there were objections to the facts, offense
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    level computations, or criminal history computations
    in the PSR. Howells’ counsel voiced no objections.
    A. 183. Although not specifically asked at that point
    whether Howells objected to the guidelines’
    calculation of the term of imprisonment in the PSR,
    there was nothing preventing Howells’s counsel from
    raising that objection. Further, the district court later
    provided defense counsel with an open-ended
    opportunity to address the court, during which she
    articulated a number of sentencing-related arguments
    but did not raise the claim now presented on appeal.
    A. 188-92. After it had imposed sentence, the district
    court again provided defense counsel an opportunity
    to speak. She told the court that there was nothing
    further to address. A. 201.

       Under these circumstances Howells cannot
    credibly claim either that he raised his present
    procedural sentencing claim in the district court or
    was denied an opportunity to do so. Accordingly, his
    procedural claim should be reviewed for plain error
    only.

          2. The district court did not commit
             error,   plain    or    otherwise, by
             imposing a 6,960-month term of
             imprisonment in order to implement
             a guidelines life term.

       The district court here fashioned Howells’ life
    term of imprisonment using the approach this Court
    endorsed in Rahman, imposing the statutory
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    maximum term of imprisonment for each count of
    conviction and stacking those sentences. See 189
    F.3d at 155-56. It is true that the full sentence here –
    6,960 months or 580 years – was not strictly
    necessary to ensure that Howells would remain
    imprisoned for the remainder of his life. Obviously,
    a shorter sentence could have achieved the same
    result. But, when a district court is advised by the
    guidelines to impose a life sentence but is permitted
    by statute to imprison the offender only for a term of
    years, it cannot accurately predict how long the
    offender will live. Thus, in a case like this one,
    where there are multiple counts of conviction, each of
    which can bear a consecutive sentence, the
    sentencing court can best ensure the offender will
    serve a full life sentence by stacking the statutory
    maximum sentences for each count rather than by
    employing some artificial limitation on the total term
    of imprisonment.

        Howells advances two arguments to support his
    claim that the district court erred. First, he argues
    that the court mistakenly determined that 580 years
    imprisonment, not life imprisonment, was the “total
    punishment.” Howells’ Opening Brief at 17-18. The
    record does not support this claim. The district court
    adopted “the guideline applications contained in the
    Presentence Investigation Report.” A. 193. The PSR
    explained that “the guideline imprisonment range is
    life.” PSR ¶ 313. The district court also reiterated
    that “the guideline imprisonment range is life.”
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    A. 193. It further made clear that the term of 580
    years or 6,960 months became the guideline sentence
    “since no count of conviction carries a potential life
    sentence.” Id. The court also explained that, “[a]s
    further instructed at 5G1.2(d), the sentence imposed
    on each count of conviction shall run consecutively
    to the extent necessary to produce a combined
    sentence equal to the total punishment, which again
    in this case is 580 years.” A. 194. From all of the
    district court’s remarks, it is clear that its closing
    reference to “which again in this case is 580 years”
    correctly described its “combined sentence,” and not
    “the total punishment.” There is no reason to believe
    that the district court misapplied section 5G1.2 or its
    application notes or otherwise misunderstood that the
    total punishment was life imprisonment.

        Second, Howells argues that the district court,
    when fashioning a life sentence from counts of
    conviction that permitted imprisonment only for
    terms of years was required to equate “life” with “life
    expectancy.” Identifying a figure that the United
    States Sentencing Commission uses as a variable to
    reflect a “life sentence” for purposes of its data
    analysis (470 months or 39.2 years) and another that
    reflects approximate life expectancy according to the
    Social Security Administration (84.3 years), Howells
    argues that the district court was legally bound to
    determine his life expectancy and use that figure,
    along with his age, to calculate his sentence.
    Howells’ Opening Brief at 18-20. Howells offers no
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    legal support for this proposed approach and
    government counsel is aware of none.

       Indeed, this Court rejected a similar contention in
    United States v. Hamilton, 548 F. App’x 728 (2d Cir.
    2013) (summary order). Hamilton was convicted of
    five counts of production of child pornography, each
    of which carried a statutory maximum thirty-year
    term of imprisonment; one count of receipt of child
    pornography, which has a twenty-year statutory
    maximum; and one count of possession of child
    pornography, which has a ten-year statutory
    maximum. The district court imposed consecutive
    maximum terms on the five production counts and
    concurrent maximum terms on the receipt and
    possession counts, for a combined 1,800-month (150-
    year) term of imprisonment to achieve the guidelines
    sentence of life. Id. at 729.

        On appeal, Hamilton argued “that a cumulative
    sentence of 1,800 months is substantively
    unreasonable because given his age and life
    expectancy, the sentence amounts to ‘multiple life
    sentences.’” This Court disagreed. “But of course,
    no prisoner can serve more than a life sentence. Any
    sentence that extends beyond Hamilton’s maximum
    conceivable life expectancy has no practical effect on
    him. Thus, the sentence imposed on Hamilton (like
    any sentence a third its length) is simply equivalent to
    a life sentence.” Id. at 730.
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       Similarly, other federal appellate courts have
    equated a guidelines sentence of life imprisonment
    with a term of years consisting of consecutive
    maximum terms of imprisonment on each count of
    conviction, even when the resulting total term of
    years well exceeds a defendant’s life expectancy.
    See, e.g., United States v. Ivory, 532 F.3d 1095, 1107
    (10th Cir. 2008) (rejecting challenge to imposition of
    sixty-year term of imprisonment consisting of
    consecutive twenty-year maximum statutory terms of
    imprisonment on three counts of conviction when the
    guidelines sentence was life); United States v.
    Thompson, 523 F.3d 806, 809, 814 (7th Cir. 2008)
    (upholding a 190-year term of imprisonment
    resulting from stacking the maximum statutory terms
    of imprisonment for multiple counts of conviction to
    best achieve a guidelines sentence of life); United
    States v. Veysey, 334 F.3d 600, 602 (7th Cir. 2003)
    (upholding a 110-year term of imprisonment
    consisting of the stacking of the maximum statutory
    terms on 16 counts of mail and wire fraud, arson, and
    using fire to commit a felony when guidelines
    sentence was life); United States v. Lott, 310 F.3d
    1231, 1244 (10th Cir. 2002) (explaining that a 125-
    year sentence resulting from stacking of multiple
    drug convictions under U.S.S.G. § 5G1.2(d) was “the
    effective equivalent of a life sentence”).

       Even had it been error for the district court to
    apply U.S.S.G. § 5G1.2 as it did, instead of
    employing the novel “life expectancy” approach that
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    Howells proposes, that error was not “clear or
    obvious” and thus not “plain” because there is no
    authority suggesting, much less holding, that stacking
    the maximum terms of imprisonment for each count
    of conviction is erroneous or that a sentencing court
    must take an offender’s life expectancy into account
    when applying section 5G1.2.

        Further, any error here would have been harmless,
    see Fed. R. Crim. P. 52(a), and certainly did not
    affect Howells’ substantial rights, see id. at 52(b),
    because the 580-year term of imprisonment will not
    require that he be incarcerated any longer than the
    life sentence that he concedes was mandated by the
    guidelines. See Hamilton, 548 F. App’x at 730-31
    (“While it could be argued that consecutive sentences
    on two counts [resulting in a 720-month term of
    imprisonment] would be sufficient to guarantee an
    effective life sentence, any potential error in
    imposing additional consecutive sentences is
    necessarily harmless, since any sentence in excess of
    Hamilton’s actual lifespan cannot add so much as a
    day to his term of imprisonment.”).8 For the same

       8
          Howells contends that he was prejudiced by the
    district court’s failure to interpret the guidelines as
    recommending a “life sentence” calibrated to his life
    expectancy because the guidelines range “sets the
    tone for sentencing” and “[t]here is simply no telling
    how the district court would have proceeded if it had
    properly determined the Guidelines range here.”
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    reason, Howells cannot establish that such an error
    would adversely affect the fairness, integrity or
    public reputation of judicial proceedings or be a
    miscarriage of justice necessary to demonstrate plain
    error.




    Howells’ Opening Brief at 20 n.8. This contention
    ignores the record below. The sentencing court made
    clear its intent to ensure that Howells spend the
    remainder of his life in prison. “Only a life sentence
    can ensure the safety of the community, provide just
    punishment for the profound crimes against children
    and afford adequate deterrence. I cannot in good
    conscience impose a sentence that will ever allow
    you to have access to children again.” A. 198.
    Because a life expectancy-based sentence would
    leave open the possibility of a windfall – release from
    prison (and renewed access to children) if Howells
    outlived that expectancy – it is obvious that the
    district court would have sentenced Howells to a
    considerably longer imprisonment term even if doing
    so required an upward departure or variance.
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    Point II:    Howells’ Within-Guidelines 6,960-
                 Month Term of Imprisonment Was
                 Not Substantively Unreasonable
                 and Not Unconstitutionally Cruel
                 or Unusual.

    A. Governing Law

       “A sentencing judge has very wide latitude to
    decide the proper degree of punishment for an
    individual offender and a particular crime.” United
    States v. Cavera, 550 F.3d 180, 188 (2d Cir. 2008)
    (en banc). “Substantive reasonableness ‘focuses on
    a district court’s explanation of its sentence in light of
    the factors contained in 18 U.S.C. § 3553(a).’”
    United States v. Matta, 777 F.3d 116, 124 (2d Cir.
    2015) (quoting United States v. Gonzalez, 529 F.3d
    94, 98 (2d Cir. 2008)).

        “[T]he Eighth Amendment does not require strict
    proportionality between crime and sentence, but
    rather forbids only extreme sentences that are grossly
    disproportionate to the crime.” United States v.
    Bullock, 550 F.3d 247, 252 (2d Cir. 2008) (quoting
    Harmelin v. Michigan, 501 U.S. 957, 960 (1991)
    (Kennedy, J., plurality opinion)). “Lengthy prison
    sentences, even those that exceed any conceivable
    life expectancy of a convicted defendant, do not
    violate the Eighth Amendment’s prohibition against
    cruel and unusual punishment when based on a
    proper application of the Sentencing Guidelines or
    statutorily mandated consecutive terms.” United
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    States v. Yousef, 327 F.3d 56, 163 (2d Cir. 2003); see
    also United States v. Adams, 768 F.3d 219, 225 (2d
    Cir. 2014), cert. denied, 135 S. Ct. 1726 (2015)
    (quoting Yousef with approval).

    B. Standard of Review

       This Court’s “review of a sentence for substantive
    reasonableness is particularly deferential.” United
    States v. Broxmeyer, 699 F.3d 265, 289 (2d Cir.
    2012). Under such review, district court sentences
    will be vacated on appeal only when they are “so
    ‘shockingly high, shockingly low, or otherwise
    unsupportable as a matter of law’ that allowing them
    to stand would ‘damage the administration of
    justice.’” Id. (quoting United States v. Rigas, 583
    F.3d 108, 123 (2d Cir. 2009)).

       In determining whether a sentence is substantively
    unreasonable, an appellate court must “take into
    account the totality of the circumstances, giving due
    deference to the sentencing judge’s exercise of
    discretion, and bearing in mind the institutional
    advantages of district courts.” Cavera, 550 F.3d at
    190. Ultimately, this Court will set aside a sentence
    “only in exceptional cases where the trial court’s
    decision ‘cannot be located within the range of
    permissible decisions.’” Id. at 189 (quoting United
    States v. Rigas, 490 F.3d 208, 238 (2d Cir. 2007)).
    While this Court does not presume that a within-
    Guidelines sentence is substantively reasonable, in
    “the overwhelming majority of cases, a Guidelines
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    sentence will fall comfortably within the broad range
    of sentences that would be reasonable in the
    particular circumstances.” United States v.
    Fernandez, 443 F.3d 19, 27 (2d Cir. 2006).

       This Court has not decided “whether plain error
    review applies to an unpreserved challenge to the
    substantive reasonableness of a sentence.” United
    States v. Thavaraja, 740 F.3d 253, 258 n.4 (2d Cir.
    2014).

        A defendant who fails in the district court to raise
    an Eighth Amendment claim that his sentence is
    “cruel and unusual” forfeits it. United States v.
    Rivera, 546 F.3d 245, 254 (2d Cir. 2008) (“Rivera
    challenges his sentence as cruel and unusual, in
    violation of the Eighth Amendment. Since Rivera
    failed to raise this claim in the District Court, we
    deem it forfeited.”). This Court reviews such
    forfeited claims for plain error only. United States v.
    Carter, 110 F. App’x 165, 166 (2d Cir. 2004) (“He
    did not raise the issue of Eighth Amendment
    proportionality below, and so we review for plain
    error.”).

    C. Discussion

       Howells deserved the most severe sentence that
    Congress permits for his crimes. He repeatedly
    engaged in horrific sexual abuse of very young girls
    to whom he gained access by either forcibly
    kidnapping them or abusing the trust of their parents.
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    He incapacitated his young victims by injecting them
    with or otherwise giving them powerful and
    dangerous drugs, including highly addictive schedule
    II controlled substances, and, in the case of the
    kidnap victims, by chaining and handcuffing them.
    Howells not only repeatedly sexually abused his
    victims, he and Vaisey created permanent records of
    that degradation, using several devices to video-
    record and photograph the exploitation of the child
    victims from multiple angles and store those images
    on encrypted computer hard drives. Remarkably,
    Howells’ conspiratorial objective – to hold his young
    kidnap victims captive over the long term so that he
    could use them as sex slaves, a plan thwarted only by
    his inability to sound-proof the room where he was
    going to hold them hostage – was even more evil
    than his despicable acts.

       Howells’ crimes not only caused substantial and
    permanent harm to the many children who were his
    immediate victims, along with their families, they
    also indelibly scarred the rural community where the
    kidnapping and sexual abuse occurred. One
    indication of the local impact of Howells’ offenses
    was that a neighbor saw fit to purchase the residence
    where Howells abused his victims so that members of
    the community could join together and burn it down.
    PSR ¶ 287.

       Nor was Howells’ victimization of children
    limited to the six young girls whom he and Vaisey
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    repeatedly drugged, sexually molested, and filmed.
    He also amassed an enormous collection of videos
    and images of sadistic sexual abuse of many other
    child victims by other pedophiles, including, for
    example, a video depicting sexual torture of an infant
    and bestiality involving a prepubescent victim.

       The district court acted well within its discretion
    by fashioning a sentence that addresses the depravity
    of the crimes Howells committed and the harm that
    he caused to the victims, their families, and the
    community.      The district court’s sentence also
    properly serves as a warning to other pedophiles who
    may contemplate committing similar atrocities and
    ensures that Howells never again will have access to
    a child.

       Howells contends that his term of imprisonment is
    substantively unreasonable for three reasons: (a) it
    does not account for his anticipated sentence in state
    court; (b) it will not encourage similarly-situated
    kidnappers and pedophiles to refrain from harmful
    conduct because it does not reward him for releasing
    his kidnap victims, not fleeing, “cooperating fully”
    with law enforcement, and pleading guilty and (c) it
    does not take into account his history and
    characteristics. Howells’ Opening Brief at 21-23.
    He also argues that his sentence is “grossly
    disproportionate” to his offenses of conviction and
    thus a violation of the Eighth Amendment prohibition
    on “cruel and unusual punishment.” Id. at 23-24.
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    Because the district court was not legally obligated to
    vary downward, these claims are meritless.

           1. Anticipated State Sentence

        At the time of his federal sentencing, Howells was
    awaiting sentencing on two counts of kidnapping in
    St. Lawrence County Court for his abduction of V-1
    and V-2. According to the PSR, he was “facing 25
    years imprisonment based on his plea agreement.”
    PSR ¶ 280; see also A. 190 (defense attorney
    assertion that Howells “is going to be sentenced to 25
    years in state court with 20 years post-release
    supervision”).9 Howells argues that the federal
    district court failed to give adequate weight at
    sentencing to the purported fact that “much of the
    gravity of [Howells’] offenses was accounted for in
       9
         As explained above, see supra note 5, Howells
    was convicted of two counts of second degree
    kidnapping in state court, not first degree kidnapping
    as stated in the PSR at ¶ 280. See Addendum. And,
    contrary to the defense prediction at sentencing, he
    was placed on five, not twenty years of post-release
    parole supervision. Addendum at p. 3. On appeal,
    Howells claims that he was facing “a lengthy state
    court sentence for sexual abuse and kidnapping.”
    Howells’ Opening Brief at 21 (emphasis added).
    This is not true. Howells was not charged with or
    convicted of “sexual abuse” in state court, only
    second degree kidnapping, which does not have
    “sexual abuse” as an element.
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    his state sentence.” Howells’ Opening Brief at 21.
    This claim is factually inaccurate and legally
    meritless.

        Howells’ claim is inaccurate because the state
    kidnapping charges addressed criminal conduct
    distinct from the conduct that resulted in his federal
    offenses of conviction and sentence. The state
    kidnapping charges were based on his abduction of
    V-1 and V-2. In contrast, the federal offenses of
    conviction related to V-1 and V-2 arose from
    Howells’ sexual exploitation of those two victims for
    the purpose of producing child pornography. The
    federal sentence also was based on other conduct
    wholly unaddressed by the state conviction: Howells’
    sexual exploitation of four other minors for the
    purpose of producing child pornography and his
    possession of pornographic images of hundreds of
    other minor victims. The only overlap was that the
    state kidnapping charges required proof that the
    victims were restrained, see NYS Penal Law
    § 135.25(2), and there was an applicable federal
    sentencing enhancement for restraint of a victim. See
    U.S.S.G. § 3A1.3; PSR ¶¶ 75, 83, 180. Because
    Howells’ offense level scored well above level 43,
    the highest possible guidelines offense level, the
    restraint-of-victims enhancement had no effect on his
    final offense level or the guidelines-recommended
    life term of imprisonment.
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       Howells’ argument that it was unreasonable for
    the district court not to vary downward to account for
    his anticipated state sentence is also legally flawed.
    The advisory guidelines take into account the
    possibility that a federally-convicted defendant will
    face an anticipated state sentence for related conduct.
    The relevant guideline provision provides that, under
    those circumstances, at most “the sentence for the
    instant [federal] offense shall be imposed to run
    concurrently to the anticipated [state] term of
    imprisonment.” U.S.S.G. § 5G1.3(c); see also id.,
    cmt. n.3. Here, even assuming that Howells was
    entitled to concurrent sentencing under Section
    5G1.3(c),10 it would have been meaningless for the
    district court to order the federal sentence – requiring
    imprisonment for the rest of Howells’ life – to be
    concurrent to the state sentence. Cf. United States v.
    Lewis, 626 F. App’x 896, 899 (11th Cir. 2015)
    (holding that district court did not abuse its discretion
    by ordering that federal sentence be served
    consecutively to an anticipated state sentence based
    on “the nature and circumstances of the offense,
    Lewis’s history and characteristics, and the need to
    promote respect for the law.”).



       10
          Howells did not request concurrent sentencing
    under U.S.S.G. § 5G1.3(c) in the district court and
    does not do so on appeal. Rather, he argues, without
    legal support, that he was entitled to a downward
    variance.
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        Because the sentencing guidelines recommended
    life imprisonment based on Howells’ convictions and
    associated conduct wholly independent of the
    conduct required to prove the state kidnapping
    charges, and, in any event, Howells was legally
    entitled, at most, to have his federal and state
    sentences run concurrently, it was not substantively
    unreasonable for the district court to impose a within-
    guidelines term of imprisonment that was
    functionally equivalent to a life sentence rather than
    vary downward.

          2. Post-Crime Conduct

        Howells next argues that the district court’s failure
    to vary downward to reward him for what he claims
    was laudable conduct following his commission of
    crimes – releasing instead of killing his victims, not
    fleeing, cooperating with authorities, and pleading
    guilty – was substantively unreasonable because it
    will prompt others like him to refrain from such
    beneficial conduct. Howells’ Opening Brief at 22.
    This contention is meritless.

       Preliminarily, it bears mention that there is reason
    to doubt that Howells’ conduct following his sexual
    exploitation of the kidnapping victims was motivated
    by a desire to benefit his victims or aid law
    enforcement. That Howells, after realizing his plan
    to hold V-1 and V-2 hostage as sex slaves was not
    feasible, chose to release rather than kill them may
    have had more to do with his assessment of his
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    chances of avoiding detection than concern for their
    well-being. Killing the victims in his residence
    would have generated forensic evidence, an outcome
    that concerned him, as shown by his later actions of
    sanitizing the residence and destroying and
    concealing evidence, and presented the problem of
    disposing of the bodies. Attempting to kill them
    elsewhere would have risked detection, particularly
    in light of the publicity following the kidnapping.
    Howells may have hoped that the victims would be
    unwilling to cooperate with police because of shame
    or cultural norms. Alternatively, he may have feared
    that murdering them would subject him to more
    severe penalties.    See 18 U.S.C. § 1201(a)(1)
    (providing for the death penalty if death results from
    kidnapping). There is nothing in Howells’ criminal
    conduct to suggest that he was motivated by concern
    for his victims. 11

       It is true that Howells did not flee but, as shown
    by his and Vaisey’s efforts to sanitize their residence
    and conceal and destroy evidence, this decision was
    not intended to make it easier for law enforcement to
    locate and capture them. Rather, they merely chose a

       11
           The district court concluded that “[t]here is
    absolutely no evidence in the record that supports
    your current contention that you released these
    victims knowing you were going to be captured. To
    even suggest their release was out of guilt or remorse
    is incredible.” A. 196.
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    different plan to try to avoid arrest. Similarly,
    Howells’ supposed “cooperation” with law
    enforcement – consenting to a search of the residence
    after it had been scrubbed clean and evidence
    removed, discarded or destroyed – was likely an
    effort to appear innocent. Making an incriminating
    statement only when it had become clear that police
    knew he was the kidnapper was an attempt to curry
    favor, not a genuine effort to assist authorities.
    Indeed, it is significant that it was good detective
    work – the location by an FBI agent of the encryption
    key for Howells’ hard drives in a text message – not
    Howells’ purported cooperation that provided law
    enforcement with access to the most critical evidence
    in this case. Further, it was hardly altruistic for
    Howells to plead guilty when the government’s
    evidence included videotaped evidence of his abuse
    of six minors, his own confession, and testimony
    from the victims of his sexual exploitation.

        Even if Howells’ post-crime actions could be
    perceived as helpful to the victims or law
    enforcement, whether Howells intended that outcome
    or not, the district court was not bound to conclude
    that a downward variance for Howells would prompt
    others like him to act similarly. Howells offered no
    evidence at sentencing showing that a reduction in
    his sentence would encourage other pedophiles to
    release kidnap victims, cooperate with authorities, or
    plead guilty after committing similar crimes. And, in
    any event, the district court did not abuse its
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    discretion or impose a substantively unreasonable
    sentence if it concluded that deterring others from
    committing offenses like Howells in the first instance
    by imposing a within-guidelines life sentence was
    preferable to a speculative effort to promote some
    modicum of post-crime decency by other predatory
    pedophiles, especially if that effort required
    rewarding Howells when he did not deserve it.

            3. Personal Characteristics

       Howells argues that the within-guidelines
    sentence was substantively unreasonable because the
    district court failed to take into account his history
    and personal characteristics as required by 18 U.S.C.
    § 3553(a)(1), specifically, his “abusive and neglected
    childhood,” his remorse, his willingness to seek help,
    and his amenability to treatment. Howells’ Opening
    Brief at 22-23. This contention fails. Even if the
    defense claims concerning these characteristics were
    true, it would not entitle Howells to relief.12

        There is no doubt that the district court considered
    this information. A. 193-94 (district court describing
    its review of the PSR and addendum, submissions by
       12
           Although this Court need not delve into
    Howells’ allegations that he was an abused child to
    reject his appeal, it bears mention that whatever
    abuse he claims to have suffered as a child, see PSR
    ¶ 283, pales in comparison to that which he inflicted
    on the victims in this case.
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    counsel, the Sentencing Guidelines Manual, and
    factors set out in 18 U.S.C. § 3553(e)). But, “the
    requirement that a sentencing judge consider an 18
    U.S.C. § 3553(a) factor is not synonymous with a
    requirement [that] the factor be given determinative
    or dispositive weight in the particular case.” United
    States v. Florez, 447 F.3d 145, 157 (2d Cir. 2006)
    (internal quotation marks, citation, and emphasis
    omitted). This Court has made clear that “the weight
    to be given any § 3553(a) factor[ ] is a matter firmly
    committed to the discretion of the sentencing judge
    and is beyond our [appellate] review, as long as the
    sentence ultimately imposed is reasonable in light of
    all the circumstances presented.” Id. at 158 (internal
    quotation marks and citation omitted). Accordingly,
    Howells’ claim that his sentence should be vacated as
    substantively unreasonable because the district court
    did not vary downward after considering his personal
    characteristics should be rejected.

            4. Eighth Amendment Claim

        Citing out-of-circuit cases in which shorter terms
    of imprisonment were imposed following convictions
    for sexual abuse that is horrific but less troubling than
    the criminal conduct here, Howells argues that his
    sentence violates the Eighth Amendment’s
    proscription on “cruel and unusual punishment.”
    Howells’ Opening Brief at 23-24.13 None of those
       13
         Howells cites United States v. Huffstatler, 571
    F.3d 620 (7th Cir. 2009), in which the appellate court
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    cases remotely suggests that the sentence here was
    grossly disproportionate. Indeed, any sentence to a
    term of years, no matter how long, would be
    proportionate to Howells’ criminal conduct. See


    determined that an above-guidelines 450-month term
    of imprisonment was substantively reasonable when
    the defendant, a recidivist sex offender, on a single
    occasion, removed a 14-year-old boy’s pants,
    manipulated his penis, and took 16 photographs;
    United States v. Vowell, 516 F.3d 503 (6th Cir.
    2008), in which the appellate court upheld as
    substantively reasonable a 65-year term of
    imprisonment for a 40-year-old offender who, on
    three occasions, sexually molested an eight-year-old
    girl while the victim’s mother videotaped the abuse
    and the offender admitted abusing the victim on other
    occasions; and United States v. Johnson, 451 F.3d
    1239 (11th Cir. 2006), in which the appellate court
    rejected Eighth Amendment and substantive
    reasonableness challenges to a 140-year term of
    imprisonment for an offender who repeatedly
    molested three underage male victims, produced
    pornographic images of the abuse, and transmitted
    the images over the internet. Although the sentences
    in Vowell and Johnson were shorter than the term
    imposed here, in those cases, like this one, the district
    court imposed what was effectively a life sentence.
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    Yousef, 327 F.3d at 163 (2d Cir. 2003) (“We and
    other courts have universally upheld sentences where
    the term of years is greater than the defendant’s
    expected natural life for less serious crimes.”). And,
    in any event, any constitutional error here is not
    “plain,” both because there is no authority making
    clear that the sentence is grossly disproportionate and
    Howells, who will not serve a term of imprisonment
    beyond a within-guidelines life sentence, cannot
    show that he is prejudiced by the 6,960-month term.
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                      CONCLUSION

       For the reasons explained above, the sentence
    should be affirmed.

       Dated: Syracuse, New York
              August 8, 2016

                       Respectfully submitted,

                       Richard S. Hartunian
                       United States Attorney for the
                        Northern District of New York
                       Attorney for Appellee

                       /s/ Steven D. Clymer
                By:    STEVEN D. CLYMER
                       Assistant United States Attorney

    LISA M. FLETCHER
    Assistant United States Attorney
    of Counsel
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             CERTIFICATE OF COMPLIANCE


       Pursuant to Rule 32(a)(7)(C) of the Federal Rules
    of Appellant Procedure, the undersigned counsel for
    the United States hereby certifies that this brief
    complies with the type volume limitation of Rule
    32(a)(7)(B). As measured by the word-processing
    system used to prepare this brief, there are
    approximately 11,848 words in the brief.

                      RICHARD S. HARTUNIAN
                      United States Attorney for the
                       Northern District of New York

                      /s/ Steven D. Clymer
                By:   STEVEN D. CLYMER
                      Assistant United States Attorney
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                CERTIFICATE OF SERVICE
                 BY NEXTGEN CM/ECF

             UNITED STATES OF AMERICA
                        v.
                     HOWELLS

                    Docket No. 15-4192

        The undersigned hereby certifies that she is an
    employee of the Office of the United States Attorney
    for the Northern District of New York, and is a
    person of such age and discretion as to be competent
    to serve papers.

       She further certifies that on August 8, 2016, she
    served a copy of the appellee’s Brief on the United
    States Court of Appeals for the Second Circuit and
    counsel for appellant, Randi J. Bianco, AFPD and
    Courtenay McKeon, Esq., by uploading to the
    Second Circuit’s ECF system a Portable Document
    Format (PDF) version of the Brief.


                      /s/ Deanna Lieberman
                      Deanna Lieberman
